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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------X
SAMUEL PRABIR, MUSTAFA JAMAL
BHUIYAN and SYDUR RASHID,

                     Plaintiffs,             17 Civ. 3704 (HBP)

     -against-                               OPINION
                                             AND ORDER
BUKHARA INDIAN CUISINE, INC.,
d/b/a "Indigo Indian Bistro,"
BASER INDIAN CUISINE, INC.,
d/b/a "Baser Restaurant,"
ANIL KUMAR and RENU KUMAR,

                     Defendants.

-----------------------------------x

          PITMAN, United States Magistrate Judge:


          This matter is before me for review of the parties'

settlement agreement in this action brought under the Fair Labor

Standards Act ("FLSA"), 29 U.S.C.     §§   201, et seq. and the New

York Labor Law ("NYLL").    All parties have consented to my

exercising plenary jurisdiction pursuant to 28 U.S.C.        §   636(c)

For the reasons set forth below, the settlement is approved.

          Plaintiffs formerly worked as servers and/or food

runners at two restaurants allegedly owned and operated by the

individual defendants.     Plaintiffs allege that defendants (1)

paid them a flat weekly salary regardless of the number of hours

they worked,   (2) failed to pay the minium wage and overtime

premium pay for all hours worked in excess of 40 hours per week,

(3) failed to pay "spread of hours" pay as required by the NYLL,
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(4) misappropriated gratuities and (5) failed to provide the wage

statements and wage notices require by the NYLL.        Exclusive of

liquidated damages, interest and statutory penalties, the parties

claim the following amounts:

                       Amount            Pro Rata Percentage of
Plaintiff              Claimed           Total Amount Claimed

Prabir                 $74,648.00             31%

Bhuiyan                $46,026.25             19%

Rashid                 $119,566.00            49.8%

             The parties have reached an agreement to settle all

claims of all plaintiffs against all defendants for the total sum

of $130,000.00.     $43,000.00, or slightly less than one-third,

will be paid to plaintiffs' counsel as reimbursement for out-of-
                         1
pocket costs and fees.       The parties have agreed to allocate the

remainder of $87,000.00 as follows:

                                         Pro Rata Percentage of
Plaintiff              Amount            Net Settlement Amount

Prabir                 $36,000.00             41.3%

Bhuiyan                $14,000.00             42.5%

Rashid                 $37,000.00             16%

             This action has been marked by continuing efforts on

the part of defendants to dissipate and/or hide their assets.          In


     1
         Counsel has reported that their out-of-pocket costs total
$6,003.66, made up primarily of the filing fee, service fees and
transcript fees.  Subtracting this sum from $43,000.00 yields a
remainder of $36,996.34 -- approximately 28.5% of the gross
settlement figure.

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February 2018 plaintiffs sought and ultimately obtained a pre-

judgement order of attachment on the theory that defendants            11
                                                                            with

the intent to defraud [their] creditors or frustrate the enforce-

ment of a judgment that might be rendered in plaintiff[s']            favor,

ha[ve] assigned, disposed of, encumbered, or secreted property,

or removed it from the state or [are] about to do [so] .        11
                                                                     Pabir

v. Bukhara Indian Cuisine, Inc., 17 Civ. 3704        (AJN) (HBP), 2018 WL

2709231 at *2   (S.D.N.Y. May 17, 2018)    (Report   &   Recommendation),

adopted at, 2018 WL 2694435 (S.D.N.Y. June 5, 2018).           The evi-

denced adduced at the hearing on the motion for an order of

attachment demonstrated that defendants were transferring,

encumbering and selling assets, all in an effort to frustrate a

judgment.   Discovery conducted by plaintiffs has also disclosed

that defendants failed to pay rent for one of their restaurants

for several months, resulting in a debt of $350,000.00 and that

defendants owe the State of New York $87,000.00 in unpaid taxes.

Defendants efforts to evade their creditors have been so exten-

sive that plaintiffs here were compelled to commence an action in

state court asserting fraudulent conveyance claims against the

defendants and their family members.

            The money to fund the proposed settlement in this

matter has already been paid to plaintiffs' counsel and is being

held in escrow pending my approval of the settlement.

            Court approval of an FLSA settlement is appropriate
            11
               when [the settlement] [is] reached as a result of

                                    3
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                                   contested litigation to resolve bona fide disputes. 11
                                   Johnson v. Brennan, No. 10 Civ. 4712, 2011 WL 4357376
                                   at *12 (S.D.N.Y. Sept. 16, 2011).   11
                                                                          If the proposed
                                   settlement reflects a reasonable compromise over con-
                                   tested issues, the court should approve the settle-
                                   ment.11 Id. (citing Lynn 1s Food Stores, Inc. v. United
                                   States, 679 F.2d 1350, 1353 n.8 (11th Cir. 1982)).

                 Agudelo v. E         &   D LLC, 12 Civ. 960 (HB), 2013 WL 1401887 at *l

                  (S.D.N.Y. Apr. 4, 2013)          (Baer, D.J.)   (alterations in original)
                 11
                      Generally, there is a strong presumption in favor of finding a

                 settlement fair,           [because] the Court is generally not in as good

                 a position as the parties to determine the reasonableness of an

                 FLSA settlement. 11          Lliguichuzhca v. Cinema 60, LLC, 948 F. Supp.

                 2d 362, 365 (S.D.N.Y. 2013)           (Gorenstein, M.J.)   (internal quota-

                 tion marks omitted).            In Wolinsky v. Scholastic Inc., 900 F.

                 Supp. 2d 332, 335 (S.D.N.Y. 2012), the Honorable Jesse M. Furman,

                 United States District Judge,           identified five factors that are

                 relevant to an assessment of the fairness of an FLSA settlement:

                                   In determining whether [a] proposed [FLSA] settlement
                                   is fair and reasonable, a court should consider the
                                   totality of circumstances, including but not limited to
                                   the following factors:   (1) the plaintiff 1s range of
                                   possible recovery; (2) the extent to which the settle-
                                   ment will enable the parties to avoid anticipated
                                   burdens and expenses in establishing their respective
                                   claims and defenses; (3) the seriousness of the liti-
                                   gation risks faced by the parties; (4) whether the
                                   settlement agreement is the product of arm 1s length
                                   bargaining between experienced counsel; and (5) the
                                   possibility of fraud or collusion.

                  (internal quotation marks omitted).             The settlement here satis-

                 fies these criteria.



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                           First, the net settlement amount represents approxi-

mately 36% of plaintiffs' claimed unpaid minimum wage and over-

time pay.                   Plaintiffs' case appears to rest entirely on their own

testimony.                  As discussed in more detail below, given the risks

plaintiffs would face if the case proceeded to trial, the settle-

ment amount is reasonable.                   See Redwood v. Cassway Contracting

Corp., 16 Civ. 3502                  (HBP), 2017 WL 4764486 at *2   (S.D.N.Y. Oct.

18, 2017)                  (net settlement of 29.1% of FLSA plaintiffs' maximum

recovery is reasonable); Felix v. Breakroom Burgers                    &   Tacos, 15

Civ. 3531                  (PAE), 2016 WL 3791149 at *2   (S.D.N.Y. Mar. 8, 2016)

(Engel mayer, D. J.)                (net settlement of 25% of FLSA plaintiff's

maximum recovery is reasonable).

                           The allocation of the net settlement proceeds is

slightly troubling but not sufficiently so as to warrant rejec-

tion of the settlement.                   Although plaintiff Prabir's wage claim

constitutes 31% of the total amount sought by plaintiffs for

unpaid wages and overtime, he will receive 41.3% of the net

settlement amount.                   This premium is permissible given that Prabir

commenced this action and the remaining two plaintiffs are opt-

ins.          I conclude that it is reasonable for Prabir to receive a

premium for his initiative in commencing this action.

                           Second, the settlement will entirely avoid the expense

and aggravation of litigation and the problems of collection.                          As

described above, defendants have engaged in repeated fraudulent


                                                 5
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transfers and similar acts with the intent of frustrating the

collection of any judgment that might be entered in this matter.

Plaintiffs' counsel has vigorously and successfully taken steps

to counteract defendants' strategy.        Although a defendant should

not be rewarded -- through a more modest settlement -- for

attempting to frustrate creditors, chasing assets and unwinding

fraudulent transfers takes time and costs money.                     Given the

laudable zeal plaintiffs' counsel has exhibited throughout these

proceedings, I have no reason to second guess his conclusion that

$130,000.00 is a reasonable compromise and is a figure close to

what the plaintiffs would actually realize were the case to

continue.    See Lliguichuzhca v. Cinema 60, LLC, supra, 948 F.

Supp. 2d at 365 (collecting cases)        ("Case law recognizes that

potential difficulty in collecting damages militates in favor of

finding a settlement reasonable.") .

            Third, the settlement will enable plaintiffs to avoid

the risk of litigation.        To prevail at trial, plaintiffs will

bear the burden of proving the number of hours that each worked

and how much each was paid.        Given plaintiffs' apparent inability

to identify any corroborating evidence and their interest in the

outcome, there is a non-trivial risk that a fact finder may not

entirely credit plaintiffs' testimony.           See Bodon v. Domino's

Pizza, LLC, No. 09-CV-2941 (SLT), 2015 WL 588656 at *6 (E.D.N.Y.

Jan. 16, 2015)   (Report   &   Recommendation)     (" [T] he question [in


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assessing the fairness of a class action settlement]         is not

whether the settlement represents the highest recovery possible

  . but whether it represents a reasonable one in light of the

many uncertainties the class faces .            " (internal quotation

marks omitted)), adopted at, 2015 WL 588680 (E.D.N.Y. Feb. 11,

2015); Massiah v. MetroPlus Health Plan,      Inc., No. ll-cv-05669

(BMC), 2012 WL 5874655 at *5 (E.D.N.Y. Nov. 20, 2012)         (" [W]hen a

settlement assures immediate payment of substantial amounts to

class members, even if it means sacrificing speculative payment

of a hypothetically larger amount years down the road, settlement

is reasonable .         " (internal quotation marks omitted)).

          Fourth, there is no evidence that the settlement is

anything other than the product of arm's-length bargaining

between experienced counsel.

          Fifth, there is no evidence suggesting fraud.

          I also note that the settlement does not contain any

provisions that have been criticized in this Circuit.          Plain-

tiffs' release is limited to wage and hour and fraudulent convey-

ance claims.    See Redwood v. Cassway Contracting Corp., supra,

2017 WL 4764486 at *3    (release of defendants "from any and all

wage and hour and/or notice claims" that could have been brought

permissible "because it is limited to claims relating to wage and

hour issues"); Yunda v. SAFI-G, Inc., 15 Civ. 8861         (HBP), 2017 WL

1608898 at *3   (S.D.N.Y. Apr. 28, 2017)    (Pitman, M.J.)    (release


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that is    11
                narrowly-tailored to plaintiffs' wage-and-hour claims 11

permissible); see also Santos v. Yellowstone Props., Inc., 15

Civ. 3986 (PAE), 2016 WL 2757427 at *l, *3           (S.D.N.Y. May 10,

2016)     (Engelmayer, D.J.); Hyun v. Ippudo USA Holdings, 14 Civ.

8706 (AJN), 2016 WL 1222347 at *3-*4           (S.D.N.Y. Mar. 24, 2016)

(Nathan, D.J.).         The agreement's mutual non-disparagement clause

has a carve-out for truthful statements about the litigation; the

overwhelming weight of authority has approved such provisions.

E.g., Montenegro v. NMN Food LLC, 18 Civ. 3153 (RA), 2018 WL

6618372 at *2        (S.D.N.Y. Dec. 18, 2018)    (Abrams, D.J.); Zhi Li

Zhong v. Rockledge Bus Tour Inc., 18 Civ. 454           (RA), 2018 WL

3733951 at *3        (S.D.N.Y. Aug. 6, 2018)    (Abrams, D.J.); Elamrani v.

Henry Limousine, Ltd., 15 CV 2050           (CLP), 2018 WL 3518505 at *3

(E.D.N.Y. July 19, 2018); Velandia v. Serendipity 3, Inc., 16

Civ. 1799 (AJN), 2018 WL 3418776 at *3-*4           (S.D.N.Y. July 12,

2018)     (Nathan, D.J.); Gomez v. Midwood Lumber       &   Millwork,   Inc.,

17-CV-3064        (KAM) (JO), 2018 WL 3019877 at *6 (E.D.N.Y. June 17,

2018) .

                 Finally, the settlement agreement's fee provision is

clearly reasonable.         The settlement agreement provides that

slightly less than one-third of the gross settlement amount will

be paid to counsel as both a fee and reimbursement for more than

$6,000.00 of out-of-pocket costs.           Contingency fees of one-third

in FLSA cases are routinely approved in this Circuit.              Santos v.


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EL Tepeyac Butcher Shop Inc., 15 Civ. 814                  (RA), 2015 WL 9077172

at *3    (S.D.N.Y. Dec. 15, 2015)          (Abrams, D.J.)         (" [C]ourts in this

District have declined to award more than one third of the net

settlement amount as attorney's fees except in extraordinary

circumstances."), citing Zhang v. Lin Kumo Japanese Rest. Inc.,

13 Civ. 6667      (PAE), 2015 WL 5122530 at *4             (S.D.N.Y. Aug. 31,

2015)    (Engelmayer, D.J.) and Thornhill v. CVS Pharm., Inc., 13

Civ. 507 (JMF), 2014 WL 1100135 at *3                (S.D.N.Y. Mar. 20, 2014)

(Furman, D.J.); Rangel v. 639 Grand St. Meat                  &   Produce Corp., No.

13 CV 3234     (LB), 2013 WL 5308277 at *l (E.D.N.Y. Sept. 19, 2013)

(approving attorneys' fees of one-third of FLSA settlement

amount, plus costs, pursuant to plaintiff's retainer agreement,

and noting that such a fee arrangement "is routinely approved by

courts in this Circuit"); Febus v. Guardian First Funding Grp.,

LLC, 870 F. Supp. 2d 337, 340            (S.D.N.Y. 2012)          (Stein, D.J.)   (" [A]

fee that is one-third of the fund is typical" in FLSA cases);

accord Calle v. Elite Specialty Coatings Plus, Inc., No. 13-CV-

6126 (NGG) (VMS), 2014 WL 6621081 at *3               (E.D.N.Y. Nov. 21, 2014);

Palacio v. E*TRADE Fin. Corp., 10 Civ. 4030                  (LAP) (DCF), 2012 WL

2 3 8 4 419 at * 6 - * 7 ( S . D. N. Y. June 2 2 , 2012)   (Freeman, M. J. ) .

             Accordingly, for all the foregoing reasons,                  I approve

the parties' settlement agreement.               The Clerk of the Court is

respectfully requested to mark this matter closed, and the




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pending motion for summary judgment seeking dismissal of the

claims against Renu Kumar (Docket Item 64)       is denied as moot.

Dated:    New York, New York
          March 12, 2019

                                        SO ORDERED

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                                        HENRY PITMAN
                                        United States Magistrate Judge

Copies transmitted to:

All Counsel




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